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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                         )
Mairen R Reagan                                )                      Case No. 18-16796-MER
SSN: xxx-xx-5289                               )                      Chapter 7
                                               )
                       Debtor.                 )

 ORDER ON THE UNITED STATES TRUSTEE’S UNOPPOSED THIRD MOTION TO
  EXTEND DEADLINES TO FILE A COMPLAINT OBJECTING TO DISCHARGE
    UNDER 11 U.S.C. § 727 OR MOTION TO DISMISS UNDER 11 U.S.C. § 707

         The matter before the Court is the United States Trustee’s Unopposed Third Motion to
Extend Deadlines to file a Complaint Objecting to Discharge Under 11 U.S.C. § 727 or a Motion to
Dismiss Under 11 U.S.C. § 707 (the “Motion”). The Court has reviewed the Motion and finds
that it is appropriate to extend the United States Trustee’s deadline to file a complaint objecting to
discharge under 11 U.S.C. § 727 or a motion to dismiss under 11 U.S.C. § 707 until and including
June 7, 2019.

       IT IS HEREBY ORDERED that the Motion is granted and the United States Trustee’s
deadline to file a complaint objecting to discharge under 11 U.S.C. § 727 or a motion to dismiss
under 11 U.S.C. § 707 shall be June 7, 2019.



Done this 1st day of June, 2019



                                               BY THE COURT:


                                               _________________________________
                                               Michael E. Romero
                                               United States Bankruptcy Judge
